             Case 2:18-cv-05038-JMA-AKT Document 4 Filed 09/07/18 Page 1 of 1 PageID #: 27

                                               UNITED STATES DISTRICT COURT
                                                                     FOR THE
                                                EASTERN DISTRICT Of NEW YORK

        Douglas C Palmer                                                                 Theodore Roosevelt Federal Courthouse
        Clerk of C<lutt                                                                      Emanuel Cellar Federal Courthouse
                                                                                                               225 Ct.dman Plaza £'!.alt
                                                                                                                 Brooklyn. NY 112()1
        Brenna Mahoney                                                                                                 (718) 613-2270
        Chief D1.1)Uty
        Corey Nguyen                                                                        Alfonse D'Amato Federal Courthouse
                                                                                                                      100 Y:cdccal Plaza
        Chief D1.'JlUty                                                                                        Ccnt1'21 Mip, NY 11722
        Carol McMahon                                                                                                   (718) 6 ll-2270
        Chief Deputy
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                                                                                                          IN CLF.Hi<'"' QFP'IG~
        DATE: September 7, 2018                                                                     U.$. 0 1mTk1c;1 dburn t:.b.N.Y
        TO: Makesi Sadenai Lopez (#17006091)
        FROM: Pro Se Office, Central Islip, NY
        RE: 18-CV-5038ijMA)(AKT), Lopez v. Nassau County Correctional Facility et.al
                                                                                                    *       SEP 07 2018
                                                                                                                                       *
                                                                                                    LONG ISLAND OFFICE
    THIS LETTER ACKNOWLEDGES RECEIPT OF YOUR CIVIL ACTION(S). DOCKET NUMBER(S) AND
    JUDGE(S) HAVE BEEN ASSIGNED AS INDICATED ABOVE. PLEASE BE ADVISED OF THE FOLLOWING:

•    It is your duty to prosecute your ca:-e and w keep th.is office informed of a current mailing address. All Address changes
    must be submitted in writing. Failure co provide a current mailmg address may result in your case being dismissed for
    failure to prosecute pursuant to Fed. R. Ci\·. P. 41 (b).
•   If you paid the $400.00 filing fee for :i civil complaint, iris your responsibility to serve the summons and complaint upon
    the defendant(s) pursuant to Fed. R. Ci,·. P. 4. lnstrucrions and forms for service are available on our website and at the
    Pro Se Office.
•   It is your responsibility to ensure that dm:u111cms filed wtrh thl' C:ourt comply with the Federal Rules of Civil Procedure,
    the Local Rules of the Eastern District of Nt'\\' York, :m<l the Judges' Individual Practice Rules. The Rules are available
    in any local library and/ or on our website.
•   Documents submitted for filing should be unbound nri~inals :md must contain your signature, case number, name
    of case and assigned judge(s).
•   Documents submitted for fili.11g shall nor include personal information i.e. social security number, birth date, name of
    minor children, financial account number, c:tc. pursuant to Fed. R. Civ. P. 5.2(a).
•   You MUST serve all papers filed ,vith the Court on opposmg counsel and an affidavit or affirmation of service must be
    included with all documents filed with the Court.
•    All documents for filing should b~ dirccred to du.• Pro Se Office. DO NOT direct filings to chambers unless explicitly
    directed to do so by your judge. Fax and l'mail subnus:::ions art· not pemussible.
•   To the extent possible, you are stwngly cncourn~ed to (I) miliz1· the instructions and forms on out website for assistance
    litigating your case; (2) sign up for dcctronic uotificatinn ot tiliugs (see below); and (3) register at www,pacaetgov to
    view activity of your case from a ho1111: computer.
•   If you are not incarcerated and ha,·e :1cccs:; to a computer, rm1 may receive electronic notification of filings in lieu of a
    mailed hard copy by submitting the cnclos<·cl consent form.
•   A Rule 73 Notice and form arc also enclosed. Plcast' read thc instructions carefully. DO NOT retum this form to the
    Court unless and until all plaintiff.._ and all defendants han· signed the consent form. See Fed. R. Civ. P. 73.

    If you have any questions or re<.1uii-l· furth ..·r assist:111cc, please visit ou
    above, or call at (631)712-6060.



    Copy mailed to litigant
